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UNITED STATES D|STR|CT COURT FjLE-D BY _c

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MEMPHis DivisloN 05 AUG _9 PH ll
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uNlTED sTATEs oF AMERicA mOMAS y GOULD
ClEHt U,S estech
_v_ 05-20058-01-Ma Wfl) 09 ,i »W§S

DALE ELNl ORE
Bruce Griffey, Retained
Defense Attorney
142 N. Third, 3"" F|oor
Nlemphis, Tennessee 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the information on February 25, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Offense Count
Title & Section Natur Of Offense Ml.c_l_eg M(§l
18 U.S.C. § 1001(a)(2) Faise statements 09/24/2003 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fleform Act of 1984 and the Mandatcry
Victims Flestitution Act of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of namel residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition 01 Sentence:
Defendant’s Date of Birth: 12/01/1963 August 05, 2005
Deft's U.S. Marsha| No.: 19512-076

Defendant’s Flesidence Address:
4700 Smith Fload
i-iernando, |V|S 38632

MM»

SA|V|UEL H. N|AVS, JFl.
UN|TED STATES D|STFlfCT JUDGE

s ' ` ce
This dooi.ment entered on the docket sh e_t?\§rn li
with H\:ie 55 andlor 321t)l FRCrP on _-§__ ____B_

 

August , 2005

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Defendant Name: Dale E. E|more Page 2 of 3

PROBATION

The defendant is hereby placed on probation for a term of one (1) year.

While on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). lf this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S!ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shail notify the probation officer ten (10) days prior to any change in residence cr
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchasel possess, use,

distribute, or administer any narcotic brother controlled substance, or any paraphernalia related to such
substances except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance',

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him cr her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Defendant Name: Dale E. Elmore Page 3 of 3

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such nctifications and to confirm the defendant’s compliance with such
notification requirementl

13. |f this judgment imposes a fine or a restitution obligation, lt shall be a condition cf supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal |Vlonetary Penatties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shaft also comply with the following additional conditions of probation:

1. The defendant shall seek and maintain lawful full-time employment
2. The defendant shall cooperate in the collection of DNA as directed by the Probation
Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Special Assessment shall be due immediately

FlNE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:05-CR-20058 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

Bruce 1. Griffey

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1\/lemphis7 TN 38103

.1 oseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

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Honorable Samuel Mays
US DISTRICT COURT

